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B 2100A (Form 2100A) (12/15)


                         UNITED STATES BANKRUPTCY COURT
                                  For The Western District of Virginia (Roanoke)

In re:                                                                 Case No. 21-50597
WANDA JEAN FEGUSON

                            TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

U.S. Bank Trust National Association, as                                      Nationstar Mortgage LLC c/o RightPath
Trustee of LB-Tiki Series V Trust                                             Servicing, P.O. BOX 619096, Dallas TX 75261
             Name of Transferee                                                             Name of Transferor

Name and Address where notices to transferee                                 Court Claim # (if known): 5-1
should be sent:                                                              Amount of Claim: 118,123.34
SN Servicing Corporation                                                     Date of Claim Filed: 02/04/2022
323 Fifth Street
Eureka, CA 95501

Phone: 800-603-0836                                                          Phone:
Last Four Digits of Acct #: 3565                                             Last Four Digits of Acct #: 5950

Name and Address where transferee payments
should be sent (if different than above):



Phone:
Last Four Digits of Acct #:


I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Michelle Ghidotti as "Authorized Representative of Creditor"                               ________
        Date: March 10, 2023
           Transferee/Transferee's Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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